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                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TRACY J. GALLOWAY,

       PLAINTIFF,
                                                 CIVIL ACTION NO.
v.

TRANSAM TRUCKING, INC. and
JOSE R. MORALES,

       DEFENDANTS.

__________________________________________________________________

                      NOTICE OF REMOVAL
__________________________________________________________________

      COME NOW, Defendants TransAm Trucking, Inc. (“TransAm”) and Jose

Morales Ortiz, (improperly named as Jose R. Morales) (“Ortiz”) (collectively,

“Defendants”) and hereby file this Notice of Removal pursuant to 28 U.S.C. §§

1332, 1441, and 1446. In support of this Notice, Defendants state as follows:

           PROCEDURAL BACKGROUND AND PREREQUISITES

      1.      Plaintiff commenced a civil action against Defendants on or about April

15, 2020, in the State Court of Fulton County, State of Georgia, Civil Action File

No. 20EV002252 (the “State Court Action”).




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      2.      This Notice of Removal is timely under 28 U.S.C. § 1446(b) because

Defendant TransAm was served with a copy of the State Court Action on April 16,

2020, and Defendant Ortiz was served with a copy of the State Court Action on April

27, 2020.1

      3.      Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A are

copies of all process and pleadings served upon Defendants to date in the State Court

Action. (See Ex. A.)

      4.      A removal notice and a copy of the instant Notice of Removal shall be

filed with the Clerk of the State Court of Fulton County, State of Georgia, and shall

be served on Plaintiff. A true and correct copy of the removal notice that the

undersigned will file with the Clerk of the State Court for Fulton County, State of

Georgia is attached hereto as Exhibit B.

      5.      Removal to this Court is proper pursuant to 28 U.S.C. §§ 1441 and 1446

because the State Court Action is currently pending in this Judicial District.




1
  Plaintiff’s Complaint in the State Court Action originally named RLI Insurance
Company as a Defendant. However, the Parties filed a Consent Motion Dismissing
RLI without prejudice as RLI is an excess insurer and was improperly named as a
Defendant in the Complaint under Georgia’s direct action statutes. The State Court
signed an Order granting the Consent Motion and dismissed RLI as a party on April
22, 2020. (See Ex. A.)
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                               Diversity Jurisdiction

      6.      Removal of this action is proper under 28 U.S.C. § 1332 because the

citizenships of the parties are fully diverse and the amount in controversy for

Plaintiff’s claim is more than $75,000.00 exclusive of interest and costs.

                          Complete Diversity of Citizenship

      7.      Both at the time the Complaint was filed and at the time of filing this

Notice of Removal, Plaintiff Tracy J. Galloway was and has remained a citizen of

the State of Georgia.

      8.      Defendant TransAm is a Missouri corporation with its principal place

of business in Kansas, and as a result, is considered a citizen of the State of Kansas

for the purposes of diversity jurisdiction analysis. (Compl. ¶ 4.)

      9.      Defendant Ortiz is a citizen and resident of the state of New York.

(Compl. ¶ 2.)

      10.     Accordingly, there exists complete diversity of citizenship between the

Plaintiff and all the Defendants.

                               Amount in Controversy

      11.     As a result of claimed “injuries and damages including severe physical

injuries,” Plaintiff alleges he has incurred and is entitled to recover compensatory,

special, and general damages, to include past and future “medical expenses and other

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necessary expenses, lost income, and mental and physical pain and suffering.”

(Compl. ¶¶ 25 and 34.) Plaintiff also seeks punitive damages and expenses of

litigation in an unspecified amount. (Compl. ¶¶ 35-40.)

      12.     Although Plaintiffs’ Complaint does not specify the amount of damages

claimed, Plaintiffs’ pre-suit demand helps to establish that the amount in controversy

threshold is satisfied. See Declaration of Clay S. O’Daniel, attached hereto as

Exhibit C.

      13.     Specifically, the demand submitted on behalf of Plaintiff identifies

medical expenses from four (4) providers totaling $58,766.61. The demand also

claims Plaintiff suffered lost wages of $35,200.00 for a special damages total of

$93,966.61. (See Ex. C, ¶ 4.) Plaintiff claims the injuries he alleges he suffered in

the accident are permanent and will cause “physical impairment, medical and other

expenses, lost income, and mental and physical pain and suffering” in the future.

(Compl. ¶¶ 25 and 34.)

      14.     Plaintiff demanded $475,000.00 to settle his claims pre suit. (See Ex.

C, ¶ 5.)

      15.     Pre-suit demand letters are commonly utilized by district courts in their

analysis of whether the jurisdictional threshold has been met in a particular case.

See e.g., Javits v. State Farm Fire & Cas. Co., No. 1:13-cv-487-WSD, 2014 U.S.

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Dist. LEXIS 119085, at *18 (N.D. Ga. 2014) (finding pre-suit demand letter totaling

$83,068.04 supported the amount in controversy exceeding $75,000); Southern Ins.

Co. v. Karrer, No. 3:10-cv-84-CAR, 2011 U.S. Dist. LEXIS 29375, at *10-11 (M.D.

Ga. 2011) (considering pre-suit demand of $50,000 where Plaintiff incurred only

$3,317 in past medical expenses in ultimately concluding that the $75,000

jurisdictional threshold had been met.)

      16.    In circumstances such as presented in the instant case, “a removing

defendant is not required to prove the amount in controversy beyond all doubt or to

banish all uncertainty about it.” Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

754 (11th Cir. 2010). Plaintiff has claimed compensatory damages, including non-

economic damages and special damages in the form of present and future medical

expenses. Plaintiffs also seek punitive damages and expenses of litigation.

      17.    Unspecified claims for general damages may be used to satisfy the

amount in controversy requirement for removal. See Buescher v. Falcon Mezzanine

Partners, LP, No. 7:07-CV-89 (HL), 2008 U.S. Dist. LEXIS 41809, at *10 (M.D.

Ga. 2008) (confirming that it is “undoubtedly true” that the Eleventh Circuit permits

litigants to use general damages to satisfy the amount in controversy requirement);

Turner v. Wal-Mart Stores, Inc., No. 7:11-CV-181 (HL), 2012 U.S. Dist. LEXIS

2428, *3 (M.D. Ga. 2012) (finding special damages totaling $58,652.94 and

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unspecified general damages were sufficient for amount in controversy

requirement). Claims for punitive damages may also be considered for purposes of

determining the amount in controversy in the removal analysis. McDaniel v. Fifth

Third Bank, 568 F. App’x 729, 731 (11th Cir. 2014).         When accompanied by

evidence, the Court is permitted to use “reasonable deductions, reasonable

inferences, or other reasonable extrapolations” in assessing amount in controversy.

Pretka, 608 F.3d at 754.

      18.   Here, Plaintiff’s articulated special damages of $93,966.61 detailed in

his pre-suit demand alone exceed the $75,000.00 jurisdictional threshold.

      19.   Accordingly, based on Plaintiff’s allegations and the evidence of

special damages incurred to date presented by Plaintiff in his demand, the amount in

controversy in this case exceeds $75,000.00.

      WHEREFORE, for the foregoing reasons, this Court has original jurisdiction

of this matter pursuant to 28 U.S.C. § 1332, and removal of the action to this Court

is proper pursuant to 28 U.S.C. § 1441. Defendants respectfully request that this

action proceed before this Court.




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Respectfully submitted this 12th day of May, 2020.


                               O’DANIEL McDONALD, LLC

                               /s/ Clay S. O’Daniel
                               Clay S. O'Daniel
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                               Attorneys for Defendants




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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served the Plaintiff’s counsel of record

with a copy of the within and foregoing NOTICE OF REMOVAL OF ACTION

via mail and by using the CM/ECF system to the following attorneys of record:

                               Michael W. Horst
                             Zachary S. Shewmaker
                             Horst Shewmaker, LLC
                         3030 Royal Blvd. South, Ste. 125
                              Alpharetta, GA 30022

      This 12th day of May, 2020.

                                              /s/ Clay S. O’Daniel
                                              Clay S. O'Daniel




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